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                            UNITED STATES DISTRICT COURT
                                       FOR THE
                                DISTRICT OF COLUMBIA
U.S.A. vs. RADER, Kenneth                                                      Docket No.: 1:22CR00057-001


                 The Court may enter a minute order for any of the following options:

Wmrnnt Requests Only - To help ensure the safety oflaw enforcement officers while a warrant is active, we ask that
you not enter a minute order. Rather, please print and sign this document and, if you concur with the request for a
wan-ant, provide all pages to your Court Room Deputy Clerk who will enter a scaled minute order and process the
wa1rnnt for service without alerting the public or the offender. After the warrant is executed, the Deputy Clerk will
unseal the warrant unless otherwise directed by the Court.

THE COURT ORDERS:

I. � Concurs with the recommendation of the Probation Office to "modify the condition as
noted below: The defe11d,mt must perform 40 hours of community service, which is to be
completed within 90 days of the date of this order. The defendant must provide written
verification of completed community service hours to the United States Probation Office."

2. □ No action

3. D Issuance of a warrant and enter into NCIC and schedule a hearing upon execution

4. D Issuance of a summons and schedule a hearing

5. D Hearing to modify, revoke, or terminate supervised release shall be held before a magistrate
     judge for the preparation of a report and recommendation to the district judge. This
     designation will remain for the duration of the case, and the designated magistrate judge
     will respond to all subsequent requests from the probation office unless otherwise ordered
     by the district judge.

6. D Other



                                            Royce C. Lamberth
                                        United States District Judge
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                                                      Date
